                  Case: 1:17-cv-04687 Document #: 15 Filed: 08/21/17 Page 1 of 3 PageID #:56

AO 440 (Rev. 05/00) Summons in a Civil Action




AUTUMN EMILY SMITH

                                                             CASE NUMBER:            1: 17-cv-04687
                                V.                           ASSIGNED JUDGE:
                                                                                     Hon. John R. Blakey
 CLEARVIEW RESOLUTION SERVICES,
 JNC. d/b/a CLEARVIEW DEBT HOLDING                           DESIGNATED
 d/b/a WESTGATE ARB ITRATION d/b/a                           MAGISTRATE JUDGE:       Hon. M. David Weisman
 CRS & ASSOCIATES d/b/a CRS


                    TO:   ( Name and address of Defendant)

                  Clearview Resolution Services, Inc.
                  d/b/a Clearview Debt Holding d/b/a Westgate Arbitration d/b/a CRS A ssociates
                  d/b/a CRS
                  2001 Niagara Falls Blvd, Suite 3
                  Amherst, NY 14228

          YOU ARE HEREBY SUMMONED and required to serve upon PLAJNTIFF 'S ATTORNEY (name and address)

                 Nathan C. Volheim
                 Sulaiman Law Group, Ltd.
                 2500 South Highland A venue, Suite 200
                 Lombard. IL 60148



                                                                                21
an answer to the complaint which is herewith served upon you,                                days after service of this
summons upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.




                                                                                      ugust 7, 201 7

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Case: 1:17-cv-04687 Document #: 15 Filed: 08/21/17 Page 2 of 3 PageID #:57




                                      RETURN OF SERVICE

                              UNITED STATES DISTRICT COURT
                                  Northern District of Illinois

Case Number: 1:17-CV-04687

Plaintiff:
AUTUMN EMILY SMITH
vs.
Defendant:
CLEARVIEW RESOLUTION SERVICES, INC. D/B/A CRS & ASSOCIATES
D/B/ACRS,

For:
NATHAN C. VOLHE IM, ESQ.
SULAIMAN LAW GROUP. LTO.
2500 SOUTH HIGHLAND AVENUE
SUITE 200
LOMBARD, IL 60148

Received by Direct Process Server LLC on the 8th day of August, 2017 at 1:37 pm to be served on
CLEARVIEW RESOLUTION SERVICES, INC. D/B/A CRS & ASSOCIATES D/B/A CRS, 2001 NIAGARA
FALLS BLVD SUITE 3, C/0 LOUIS CALOSTIPES, AMHERST, NY 14228.

I, TED KWIATKOWSKI, do hereby affirm that on the 17th day of August, 2017 at 1:04 pm, 1:

served a CORPORATION by delivering a true copy of the SUMMONS IN A CIVIL CASE, NOTICE OF
MANDATORY INITIAL DISCOVERY, STANDING ORDER REGARDING MANDATORY INITIAL
DISCOVERY PILOT PROJECT, COMPLAINT AND EXHIBITS, to: CHARITY BALDWIN as
AUTHORIZED for CLEARVIEW RESOLUTION SERVICES, INC., at the address of: 2001 NIAGARA
FALLS BLVD SUITE 3, AMHERST, NY 14228, and informed said person of the contents therein, in
compliance with state statutes.

Description of Person Served: Age: 40, Sex: F, Race/Skin Color: WHITE, Height: 5'7, Weight: 210, Hair:
BROWN, Glasses: N




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                           RETURN OF SERVICE For 1:17-CV-04687




Executed on :
                       r
I certify that I am over the age of 18, have no interest in the above action. Under penalties of perjury, I
:~=- P""'"aot to

                  1) lI)
                           US~ 1746 that I ha•e cead the focegolog dooomeot aod the facts •tated ace t'"e aod

                            Ol 0 l]
                Date




                                                                         ~V-        r
                                                                        TED KWIATKOWSKI

                                                                        Direct Process Server LLC
                                                                        22 Southern Blvd
                                                                        Suite 103
                                                                        Nesconset, NY 11767
                                                                        (631) 406-6989

                                                                        Our Job Serial Number: DPR-2017001919

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